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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 8:08CR194-001

                                                        USM Number 17038-047

PERCY E. GRANT
                        Defendant
                                                        WESLEY S. DODGE

                                                        Defendant’s Attorney
___________________________________

                                 JUDGMENT IN A CRIMINAL CASE
                       (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts I, II and III of the Indictment on September 23, 2008.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                             Date Offense                Count
          Title, Section & Nature of Offense                  Concluded                Number(s)


  21:846 and 18:2 - CONSPIRACY TO DISTRIBUTE                 May 20, 2008                    I
 AND POSSESSION WITH INTENT TO DISTRIBUTE
 50 GRAMS OR MORE COCAINE BASE

 18:924© and 18:2 - POSSESSION AND DISCHARGE               December 9, 2007                 II
 OF FIREARM IN FURTHERANCE OF A DRUG CRIME

 18:922(g)(1) and 18:2 - FELON IN POSSESSION OF            December 9, 2007                III
 A FIREARM

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall
notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                    January 16, 2009

                                                                            s/ Lyle E. Strom
                                                                   Senior United States District Judge

                                                                              January 22, 2009
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                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of two hundred forty (240) months as to Count I of the Indictment; a term
of one hundred twenty (120) months as to Count II of the Indictment and one hundred twenty
(120) months as to Count III of the Indictment. The sentence of imprisonment in Count II shall
run consecutive to Count I and the sentence of imprisonment in Count III shall run concurrently
to the sentence of imprisonment in Counts I and II.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any
         similar drug treatment program available.

2.       That the defendant be incarcerated in a federal facility as close to Omaha, Nebraska as
         possible.

3.       The defendant shall be given credit for time served since May 16, 2008.

The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                               _____________________________
                                                                       Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                         __________________________________
                                                                UNITED STATES WARDEN

                                                     By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                     By:__________________________________
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                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of ten (10)
years as to Count I of the Indictment; three (3) years as to Count II of the Indictment and two
(2) years as to Count III of the Indictment. The term of supervised release in Counts II and III
shall run concurrently to the term of supervised release in Count I.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as
with any additional conditions on the attached page.

                             STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         associate with any person convicted of a felony, unless granted permission to do so by the
         probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested or
         questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of
         a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics and shall
         permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
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                               SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
         2004), if such sample was not collected during imprisonment.

2.       Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days of
         release on supervised release and at least two (2) periodic drug tests thereafter to determine whether
         the defendant is using a controlled substance. Further, the defendant shall submit to such testing as
         requested by any probation officer to detect the presence of alcohol or controlled substances in the
         defendant’s body fluids and to determine whether the defendant has used any of those substances.
         Based on the defendant’s ability to pay, the defendant shall pay for the collection of urine samples to
         be tested for the presence of alcohol and/or controlled substances in an amount to be determined by
         the probation officer.

3.       The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by a
         United States Probation Officer at any time; failure to submit to a search may be grounds for revocation;
         the defendant shall warn any other residents that the premises may be subject to searches pursuant
         to this condition.

4.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
         administer any alcohol, just the same as any other narcotic or controlled substance.

5.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
         or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the probation officer.

6.       The defendant shall provide the probation officer with access to any requested financial information.

7.       The defendant shall participate in a victim awareness program as directed by the probation officer.
         Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
         amount determined by the probation officer.

8.       The defendant shall attend a public, private or private nonprofit offender rehabilitation program that has
         been approved by the probation officer, in consultation with a State Coalition Against Domestic Violence
         or other appropriate experts.

9.       The defendant shall not associate with any member, prospect, or associate member of any criminal
         street gang. If the defendant is found to be in the company of such individuals while wearing the
         clothing, colors, or insignia of any known criminal street gang, the Court will presume that this
         association was for the purpose of participating in illegal gang activities.

10.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
         Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18 th Plaza, Suite C79, Omaha,
         Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and, thereafter,
         as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

        Total Assessment                      Total Fine                      Total Restitution

               $300.00



The Court has determined that the defendant does not have the ability to pay interest and it is ordered
that:

         interest requirement is waived.



                                                 FINE

         No fine imposed.


                                   SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $300.00. The defendant shall pay
25% of his prison earnings or other funds which become available to him toward payment of the
special assessment. This amount shall be deducted from the defendant’s prison earnings or other
funds available to defendant during his incarceration. Any remaining unpaid balance of the special
assessment shall be paid within fifteen (15) days of defendant’s release.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America may
institute civil collection proceedings at any time to satisfy all or any portion of the criminal monetary
penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments
to satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $100 or
3% of the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30
days following the defendant’s discharge from incarceration, and continue until the criminal monetary
penalty is paid in full; and (c) the defendant shall be responsible for providing proof of payment to the
probation officer as directed.


Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through the
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Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the
Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary
penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
